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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 21-60125-CIV-SCOLA/SNOW

  JIANGMEN BENLIDA PRINTED
  CIRCUIT CO., LTD.,

  Plaintiff,

  v.

  CIRCUITRONIX LLC,

  Defendant.
  ____________________________________/

                DEFENDANT CIRCUITRONIX, LLC’S MOTION FOR
        EXTENSION OF TIME AND LEAVE TO FILE THIRD-PARTY COMPLAINT

          Defendant, Circuitronix, LLC (“CTX”) hereby respectfully requests a 30 day extension of

  time, from October 29, 2021 to November 29, 2021, to file a third-party complaint against China

  Export & Credit Insurance Corporation, commonly known as “Sinosure,” for tortious interference

  with contract. A copy of the proposed third-party complaint is attached hereto as Exhibit 1. In

  support of this request, CTX states as follows:

       1. Plaintiff filed its operative Third Amended Complaint (“TAC”) on June 1, 2021. [DE 26].

       2. On June 15, 2021, CTX filed a motion to dismiss the TAC. [DE 27]. Plaintiff filed an

          opposition to the motion and CTX filed a reply. [DE 28, 30].

       3. On September 23, 2021, the Court entered an order granting in part and denying in part the

          motion to dismiss. [DE 31].

       4. CTX filed its Answer to the TAC, including counterclaims against Plaintiff, Jiangmen

          Benlida Printed Circuit Co., Ltd. (“Benlida”) on October 15, 2021. [DE 34].




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     5. Benlida’s response to CTX’s counterclaim is currently due on November 5, 2021. Counsel

        for Benlida has indicated that Benlida intends to request an additional 30 days to file the

        response, and undersigned counsel has communicated that CTX does not object to this

        requested extension of time, to December 6, 2021.

     6. Pursuant to Rule 14(a)(1) of the Federal Rules of Civil Procedure, a third-party plaintiff

        must by motion “obtain the court’s leave if it files the third-party complaint more than 14

        days after serving its original answer.” Thus, the Court’s leave is required in order for

        CTX to file the proposed third-party complaint later than October 29, 2021.

     7. CTX now respectfully requests a brief extension of 30 days, to November 29, 2021, to file

        the third-party complaint. Counsel for the parties have conferred regarding this request,

        but as of this time Plaintiff’s position as to this extension of time is unconfirmed.

     8. Under Rule 6(b)(1)(A) of the Federal Rules of Civil Procedure, when “an act may or must

        be done within a specified time, the court may, for good cause, extend the time with or

        without motion or notice if the court acts, or if a request is made, before the original time

        or its extension expires.”

     9. The Court has broad discretion to grant such requests, particularly where, as here, the

        request is made before the expiration of the original deadline. See, e.g., Hetzel v. Bethlehem

        Steel Corp., 50 F.3d 360, 367 (5th Cir. 1995) (“the district court is granted broad discretion

        to expand filing deadlines”). Further, granting such a request is particularly appropriate

        where the opposing party does not object to the extension.

     10. “The proper procedure, when additional time for any purpose is needed, is to present to the

        Court a timely request for an extension before the time fixed has expired.” Franklin v.




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        Hernandez, No. 220CV00063RFBDJA, 2021 WL 3010011, at *2 (D. Nev. July 15, 2021)

        (citing Canup v. Miss. Valley Barge Line Co., 31 F.R.D. 282, 283 (D. Pa. 1962)).

     11. Courts have explained that good cause for a reasonable extension of time can be

        demonstrated where “the practicalities of life (such as an attorney’s conflicting professional

        engagements or personal commitments such as vacations, family activities, illnesses, or

        death) often necessitate an enlargement of time to comply with a court deadline.” E.g.,

        Pickett v. Valdez, No. 317CV00567MMDWGC, 2019 WL 2570524, at *1 (D. Nev. June

        21, 2019) (citing Canup., 31 F.R.D. at 283) (“the Court is ordinarily indulgent when

        counsel’s disability is due to conflicting professional engagements or even to impelling

        personal reasons (such as vacation or hunting season, family events of joyful nature such

        as weddings or christenings, public or philanthropic service, bar association activities, and

        the like, as well as the more sombre occasions of illness or death)”).

     12. Further, a request for additional time to review or gather evidence to formulate pleadings

        can establish good cause for an extension. E.g., Caudell v. Rose, 378 F. Supp. 2d 725, 729

        (W.D. Va. 2005) (finding adequate cause to grant defendants’ request for 30 day extension

        to seek additional affidavits and formulate their response to plaintiff’s complaint).

     13. The Court’s “indulgence is the more readily accorded when the barrister seeking it is one

        whose record of past dealings with the Court has been marked by fairness and diligence in

        cooperating with the Court’s objective of promptly disposing of pending litigation.”

        Canup, 31 F.R.D. at 283.

     14. Here, CTX requests this brief extension primarily because CTX requires additional time to

        review the evidence and formulate its third-party complaint against Sinosure, including the

        completion of a comprehensive analysis of relevant documents related to Sinosure’s



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         involvement and interference in the contractual relationship between CTX and Benlida and

         its affiliates. CTX only became aware of Sinosure’s tortious interference with contract in

         the course of responding to Benlida’s claims, and analyzing the available documentation

         in preparation of its recently filed Answer and Counterclaim [DE 34]. The requested

         extension will allow CTX to conduct a thorough and orderly review of the available

         evidence, explore potential pre-suit resolution, and alleviate the risk that CTX will be

         unable to articulate its claim accurately and properly by the existing deadline despite the

         exercise of diligence in doing so.

     15. The requested extension will not result in any prejudice to the Plaintiff or to the Court. It

         will not impact or require revision of the existing case schedule, or impair the Plaintiff’s

         ability to proceed with the case.

     16. This is CTX’s second motion for an extension of a deadline in this matter. CTX

         respectfully requests this modest extension in good faith, and not for any improper or

         dilatory purpose.

                                             CONCLUSION

         Accordingly, we respectfully request that the Court grant this motion and grant CTX leave

  to file its third-party complaint on or before November 29, 2021.

               CERTIFICATION REGARDING PRE-FILING CONFERENCE

         Pursuant to Local Rule 7.1(a)(3), undersigned counsel for CTX certifies that we have

  conferred with counsel for Plaintiff in a good faith effort to reach agreement on the issues raised

  in this Motion, and we have been unable to do so.




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  Dated: October 29, 2021                              Respectfully submitted


                                                       CHAUNCEY COLE, PA
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                                                       By: /s/ Chauncey D. Cole IV
                                                       Chauncey D. Cole, IV, Esq.
                                                       Florida Bar No. 102184
                                                       chauncey.cole@coletrial.com

                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true copy of the foregoing has been served via transmission of
  Notices of Electronic Filing generated by CM/ECF on October 29, 2021 as filed with the Clerk of the
  Court using CM/ECF.                          By: /s/ Chauncey D. Cole IV___
                                                Chauncey D. Cole IV




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